                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )        NO. 3:06-00031-18
                                           )        JUDGE CAMPBELL
ROBERTO MANIER                             )


                                          ORDER


       The hearing on the Petition for Revocation of Supervised Release (Docket No. 807)

currently scheduled for July 27, 2012, is RESCHEDULED for July 26, 2012, at 9:00 a.m.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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